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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
YITZCHOK RUBIN,                                                       Civil No.: 1:13-cv-03444
                                                                      (ARR)(SMG)
                                   Plaintiff,
                 -against-

GC SERVICES LIMITED PARTNERSHIP,

                                    Defendant.
------------------------------------------------------------------X

                                    STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

hereby stipulate to the Plaintiff’s voluntary dismissal of his claims against GC SERVICES

LIMITED PARTNERSHIP, in the above-captioned matter, with prejudice. A proposed Order of

Dismissal is annexed hereto as Exhibit A.




Dated:           October 14, 2013



_/s/ Alan J. Sasson_______________                            __s/ Concepcion A. Montoya______
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Attorney for Plaintiff                                        Attorneys for Defendant
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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YITZCHOK RUBIN,                                                       Civil No.: 1:13-cv-03444
                                                                      (ARR)(SMG)
                                   Plaintiff,
                 -against-

GC SERVICES LIMITED PARTNERSHIP,

                                    Defendant.
------------------------------------------------------------------X

                                           DISMISSAL ORDER

IT IS HEREBY ORDERED:

        THAT pursuant to the parties’ October 14, 2013 Stipulation of Dismissal, all claims

asserted in Civil Action No: 1:13-cv-03444 (ARR)(SMG), are dismissed with prejudice; and

        THAT all parties shall bear their own attorneys’ fees and costs incurred in this action.


SO ORDERED THIS _________ day of _____________, 2013.


                                                     ____________________________________
                                                     HON. ALLYNE R. ROSS,
                                                     UNITED STATES DISTRICT JUDGE
